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Case 2:05-md-01657-EEF-DEK

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JOHN S. BREEDING and
PAULA BREEDING,

Plaintiffs,

MERCK & CO., INC., et al,

Defendants.

IN THE UNITED STATES
DISTRICT COURT FOR THE
EASTERN DISTRICT OF
LOUISIANA

CASE NO. 2:05-ev-04933-EEF-DEK

STIPULATION OF DISMISSAL
WITH PREJUDICE AS TO
ALL DEFENDANTS

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Pursuant to Rule 41, Fed. R. Civ. P., the undersigned counsel hereby stipulate that all

claims of plaintiffs, JOHN S. BREEDING and PAULA BREEDING, against defendant Merck

& Co., Inc., Merck-Medco Managed Care, Inc., d/b/a Merck-Medco Rx Services, and all other

named defendants be dismissed in their entirety with prejudice, each party to bear its own costs.

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal With

Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip
Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by
electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-
Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF system
which will send a Notice of Electronic Filing in accord with the procedures established in MDL
1657, on this 29" day of July, 2009.

/s/ Stephen G. Strauss

Stephen G. Strauss

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